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ANTHEIL MASLOW & MacMINN, LLP

By: William T. MacMinn, Esquire

Attomey ID #25597

131 West State Street

Doylestown, PA 18901

T: (215) 230-7500

F: (215) 230-7796 Counsel for Plaintiff

 

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Aimee Zipp
5 East Montgomery Street
Allentown, PA 18103 :
v. : #2019-
Douglas Cave :
277 Lincoln Court
Timberville, VA 22853
and
Blizzard Trucking LLC
1519 Pleasant Drive
Harrisonburg, VA 22801
and
Victor Lucero
8423 Lanham Lane
Houston, TX 77075
and
Werner Enterprises, Inc.
14507 Frontier Road :
Omaha, NE 68138 : JURY TRIAL DEMANDED

COMPLAINT

1. Plaintiff Aimee Zipp is adult individual residing at 5 East Montgomery Street,
Allentown, Pennsylvania 18103.
2. Defendant Werner Enterprises, Inc. (“Werner”) is a Nebraska corporation with an

address of 14507 Frontier Road, Omaha, Nebraska 68138.
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3. Defendant Victor Lucero is an adult individual residing at 8423 Lanham Lane,
Houston, TX 77075. At all times relevant to the cause of action alleged herein, Mr. Lucero was
acting within the scope of his authority as the agent, workman, servant or employee of Defendant
Werner.

4, Defendant Blizzard Trucking LLC (“Blizzard”) is a Virginia limited liability
company with an address of 1519 Pleasant Drive, Harrisonburg, Virginia 22801.

5. Defendant Douglas Cave is an adult individual residing at 277 Lincoln Court,
Timberville, VA 22853. At all times relevant to the cause of action alleged herein, Mr. Cave was
acting within the scope of his authority as the agent, workman, servant or employee of Defendant
Blizzard.

6. The accident out of which this cause of action arises occurred within the
Commonwealth. Therefore, this Court has jurisdiction pursuant to 42 Pa.C.S.A. §5322(a)(3).

7. This Court has jurisdiction under 28 U.S.C. § 1332 because there is complete
diversity of citizenship and the amount in controversy exceeds Seventy-Five Thousand Dollars .
($75,000.00) exclusive of interest and costs.

8. Venue is proper in this District pursuant to 28 U.S.C. § 1391 as the accident
occurred within the Eastern District of Pennsylvania.

9. On July 24, 2018, at approximately 4:14 a.m., Plaintiff was operating her 2015
Mitsubishi Lancer westbound on Interstate 78 in Fogelsville, Lehigh County, Pennsylvania.
Plaintiff was traveling behind the vehicle operated by Mr. Lucero and in front of the vehicle

operated by Mr. Cave.
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10. At the aforesaid time and place, Mr. Lucero was operating a tractor trailer owned
by his employer, Werner and registered in the state of Nebraska, also in a westbound direction on
Interstate 78. Mr. Lucero was traveling in front of both Plaintiff and Mr. Cave.

11. At the aforesaid time and place, Mr. Cave was operating a tractor trailer owned by
his employer, Blizzard and registered in the state of Virginia, also in a westbound direction on
Interstate 78. Mr. Cave was traveling behind both Mr. Lucero and Plaintiff.

12. | Moments prior to the accident, Mr. Lucero lost control of the vehicle he was
operating with the result that it collided with a concrete barrier located along the highway and
ultimately came to rest in a jackknifed configuration blocking one or more lanes of the roadway.

13. Immediately after the Werner vehicle came to rest as above described, Plaintiff
slowed or stopped her vehicle to avoid striking the Werner vehicle which was then and there
obstructing the path of her vehicle.

14. The Blizzard vehicle, as a result of the negligence of Mr. Cave, then struck the
Plaintiffs vehicle in the rear.

15. This accident was the result of the negligence of the defendants, consisting of:
a. Operating their motor vehicles in an unsafe manner;
b. Failing to maintain a proper lookout;
c. Violating the duties imposed on them by 75 Pa.C.S.A. §3361 (driving too
fast for conditions);
d. Failing to drive with appropriate caution at and about the subject accident
situs;
e. Failing to operate their motor vehicles so as to be able to stop within the

assured clear distance ahead; and,
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f. Operating their motor vehicles in a reckless manner and without due regard
for the rights, safety and position of Plaintiff.

16. The aforesaid motor vehicle collision was not the result of any act, or failure to act
on the part of Plaintiff.

17. As aresult of the negligence of Defendants as set forth above, Plaintiff sustained
injuries including, but not limited to, concussion; migraines; aggravation of pre-existing mental
health issues; injury to her nose; bilateral leg bruising; bruising around right eye, as well as a
severe shock to her nerves and nervous system, some or all of which may be permanent.

18. Asa further result of the negligence of Defendants, Plaintiff has been in the past,
and will be in the future, caused to suffer great pain, agony, mental anguish and emotional distress
and humiliation and has suffered, and will continue to suffer, limitations in her ability to enjoy the
pleasures of life.

19. Asa further result of the ne gligence of the Defendants, Plaintiff was and continues
to be impaired from attending to her normal daily activities, to her detriment.

20. Asa further result of the negligence of the Defendants, Plaintiff has been forced to
incur medical expenses, which have exceeded or may exceed those amounts which Plaintiff is

otherwise entitled to recover.
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21. Asa direct result of the negligence of the Defendants, Plaintiff has or may incur
other financial expenses or losses which may exceed those which Plaintiff may otherwise be
entitled to recover.

WHEREFORE, Aimee Zipp hereby demands judgment in her favor and against
Defendants, individually, jointly and severally, in an amount in excess of Seventy Five Thousand
Dollars ($75,000.00) in addition to costs, interest, delay damages and such other relief as may be

applicable.

ANTHEIL MASLOW & MacMINN, LLP

Date: June 6, 2019 ly We | JS ‘Dy

By: ‘William TMacMinn, Esquire
Counsel for Plaintiff

    
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and
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14507 Frontier Road
Omaha, NE 68138

VERIFICATION
L, Aimee Zipp, state that I am the Plaintiff in this matter; and, that the statements
contained in the foregoing Complaint are true and correct to the best of my knowledge,
information and belief. I understand that false statements made therein are subject to the

penalties of 18. Pa. §4904 relating to unsworn falsification to authorities.

Date: 06/03/2019 i (LEE CLL LZ Lp AE
Aimee Zipp LS

 
